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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
    UNITED STATES OF AMERICA,                                      CASE NUMBER

                                                       PLAINTIFF
                                      v.

                                                                                  APPLICATION FOR
                                                                      REVIEW/RECONSIDERATION OF ORDER
                                                                              SETTING CONDITIONS OF
                                                    DEFENDANT.                  RELEASE/DETENTION
                                                                   (18 U.S.C. §3142) AND REQUEST FOR HEARING

       Application is made by G plaintiff G✔defendant
  that a hearing be held to review /reconsider the decision of

  G United States District Judge                                           by order dated:

  ✔Magistrate Judge
  G                                                                        by order dated:

       ✔ denying release and imposing detention under subsection G (d) or G
       G                                                                  ✔(e) of Title 18 U.S.C. §3142; or
       G ordering release upon certain conditions, or
       G denying detention.

      This application is made G ✔pre-sentence G post-sentence based on the following facts not previously considered by
  said judicial officer or changed circumstances as follows:




       Relief sought (be specific):




      Counsel for the defendant and plaintiff United States Government consulted on
  and opposing counsel declines to stipulate to an order providing the relief sought.

                               ✔AUSA G Defendant’s Counsel G PSA G Interpreter G
  ✔ Telephonic notice given to G
  G                                                                                 ✔Probation
                                                                               ✔USM G
  on                                    .

                                    ✔not required. Language
       An interpreter is G required G
                      ✔
       Defendant is G in custody G not in custody.
    2/1/22
  Date                                                             Moving Party


                           APPLICATION FOR REVIEW/RECONSIDERATION OF ORDER SETTING CONDITIONS OF
                                  RELEASE/DETENTION, (18 U.S.C. §3142) AND REQUEST FOR HEARING
CR-88 (06/07)
